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                                UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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                                      WESTERN DIVISION
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     STILLWATER DESIGN, INC., a                      Case No.: 2:19-cv-00251 CJC (PJWx)
12   California corporation, on behalf of
     itself and all others similarly situated,
13                                                   JUDGMENT
                   Plaintiff,
14                                                   Courtroom: 7C
            v.                                       Judge: Hon. Cormac J. Carney
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     CLEAR FINANCE TECHNOLOGY
16   CORPORATION, a Canadian
     corporation, and DOES 1 through 25,
17   inclusive,
18                 Defendant.
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                                                 JUDGMENT
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1                                        JUDGMENT
2          WHEREAS, on March 12, 2019, the Court granted Defendant Clear Finance
3    Technology Corporation’s (“Defendant”) Motion to Dismiss Plaintiff Stillwater
4    Design, Inc.’s (“Plaintiff”) Complaint pursuant to Federal Rule of Civil Procedure
5    12(b)(6). See Dkt. No. 12. The Court dismissed with prejudice Plaintiff’s claims
6    brought under (1) the California Finance Lenders Law, Cal. Fin. Code § 22000, et
7    seq.; (2) the California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750-
8    1784; and (3) California usury laws. See Dkt. No. 12. The Court dismissed without
9    prejudice Plaintiff’s claim brought under the California Unfair Competition Law
10   (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq. See Dkt. No. 12.
11         WHEREAS, on May 2, 2019, the Court granted in full Defendant’s Motion to
12   Dismiss Plaintiff’s First Amended Complaint pursuant to Federal Rule of Civil
13   Procedure 12(b)(6) and dismissed Plaintiff’s remaining UCL claim with prejudice.
14   See Dkt. No. 17.
15         NOW THEREFORE, it is ordered, adjudged, and decreed that Judgment is
16   entered in favor of Defendant and against Plaintiff on all claims. The Court
17   determines that there is no just reason for delay in entering judgment on these claims
18   as to Defendant because each of Plaintiff’s claims have been dismissed with prejudice.
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20         IT IS SO ORDERED.
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22   Dated: May 15, 2019
23                                                HON. CORMAC J. CARNEY
                                                  UNITED STATES DISTRICT JUDGE
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                                           JUDGMENT
